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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                           :   Criminal No. 1:21-CR-00618
                                                   :
                 v.                                :   (Judge Berman Jackson)
                                                   :
RILEY JUNE WILLIAMS                                :   (Electronically Filed)


    DEFENDANT’S SUBMISSION TO THE COURT REGARDING UNCHARGED
   CONDUCT (THEFT OF GAVEL) AND WHETHER IT IS INTRINSIC TO OTHER
                CHARGED CRIMES IN THE INDICTMENT

          During the government’s opening statement to the jury, government counsel argued that

on January 6, 2021, Ms. Williams stole a gavel from Speaker Pelosi’s office. At the conclusion

of the government’s argument, defense counsel lodged an objection, triggering a sidebar bench

conference. During the bench conference, government counsel argued that Ms. Williams’

alleged and uncharged theft of a gavel from Speaker Pelosi’s office is evidence that is intrinsic to

the disorderly conduct crimes charged in Counts 6 and 7, and is thus admissible without a

limiting instruction. It is Ms. Williams’ position that any evidence concerning an alleged,

uncharged theft of a gavel from Speaker Pelosi’s office is not intrinsic to the disorderly conduct

crimes.

          In the D.C. Circuit, United States v. Bowie, 232 F.3d 923, 929 (D.C. Cir. 2000) offers

guideposts concerning the admission of intrinsic evidence. Per Bowie, evidence is intrinsic when

it “is of an act that is part of the charged offense” or is of “uncharged acts performed

contemporaneously with the charged crime . . . if they facilitate the commission of the charged

crime.” Id. To be "intrinsic," evidence must be more than merely relevant to a charged crime,

otherwise "Rule 404(b) would be a nullity." Bowie, 815 F.3d at 929.
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       Reference to the elements of the charges in Count 6 and 7 further demonstrate that

evidence of theft does not satisfy the elements of disorderly conduct. Count 6 charges Ms.

Williams with Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in

violation of 18 U.S.C. § 1752(a)(2). Similarly, Count 7 charges her with Disorderly Conduct in a

Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(D). There are no model jury

instructions for these charges in this District (or elsewhere), but at bottom, the government must

prove, beyond a reasonable doubt, that Ms. Williams engaged in conduct that falls under the

definition of disorderly conduct. In other January 6th cases, judges in this district have instructed

jury that disorderly conduct:

       occurs when a person acts in such a manner as to cause another person to be in
       reasonable fear that a person or property in a person’s immediate possession is
       likely to be harmed or taken, uses words likely to produce violence on the part of
       others, is unreasonably loud and disruptive under the circumstances, or interferes
       with another person by jostling against or unnecessarily crowding that person.

See Final Jury Instructions, United States v. Jensen, 1:21-cr-6-TJK, Doc. 97 at pp. 38-39

(September 23, 2022); United States v. Hale-Cusanelli, 1:21-cr-37-TNM, Doc. 84, p. 34 (May

27, 2022). The jury charge will likely define “disruptive conduct” as “a disturbance that

interrupts an event, activity, or the normal course of a process.” Id. Notably absent from this

definition of disorderly and disruptive conduct are completed acts of theft.

       Looking to the District of Columbia’s definition of disorderly conduct, set forth in D.C.

Code § 22-1321, judges in this district have interpreted the D.C. Code’s definition “to proscribe

conduct that ‘occur[s] under circumstances such that a breach of peace may be occasioned

thereby.’” Marcus v. District of Columbia, 646 F. Supp. 2d 58, 61 n. 5 (D.D.C. 2009)(citing

Shepherd v. District of Columbia, 929 A.2d 417, 418 (D.C. 2007) and quoting Chemalali v.

District of Columbia, 655 A.2d 1226, 1228 (D.C. 1995)). This aligns with how disorderly



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conduct is defined in Black’s Law Dictionary: “Behavior that tends to disturb the public peace,

offend public morals, or undermine public safety.” Disorderly conduct, Black’s Law Dictionary

(8th ed. 2004). Theft, on the other hand, is an entirely different crime, comprised of a different

set of actions. Black’s Law Dictionary defines theft as:

       Theft. 1. The felonious taking and removing of another’s personal property with
       the intent of depriving the true owner of it; larceny. 2. Broadly, any act or
       instance of stealing, including larceny, burglary, embezzlement, and false
       pretenses.

Theft, Black’s Law Dictionary (8th ed. 2004). Commission of a theft simply does not satisfy the

definition of disorderly conduct. See United States v. Mazanetz, 1995 U.S. App. LEXIS 19192 at

*11 (7th Cir. 1995)(“Theft, the taking of another’s property with the intent to permanently

deprive that person of ownership is clearly distinct from [disorderly conduct].”).

       The government also offers a strained argument that the theft of the gavel is intrinsic to

Count 5, Entering and Remaining in a Restricted Building, 18 U.S.C. § 1752(a)(1), as well as

Count 12, Obstruction of an Official Proceeding, 18 U.S.C. § 1512(c)(2). Considering Bowie’s

limitation that an uncharged act must “facilitate the commission of the charged crime,” it is a

stretch to find that the uncharged and alleged theft of a “gift” gavel from the Speaker’s outer

office suite formed the “unlawful means” required to commit the felony of obstruction of an

official proceeding. Nor does the gavel theft in any way “facilitate” entering and remaining in a

restricted building. Further, and as the evidence will reflect, Ms. Williams “remained” in the

Capitol for a half an hour or more after she left the Speaker’s Office.

        WHEREFORE, the defendant, Riley June Williams, respectfully requests that this

Honorable Court issue an Order precluding the government from introducing any evidence or

testimony at trial, without an appropriate limiting instruction, concerning Ms. Williams’




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statements or references to taking a gavel and/or a hard drive(s) from Speaker Pelosi’s office on

January 6 because such evidence is not intrinsic.

                                                    Respectfully submitted,


Date: November 9, 2022                               /s/ Lori J. Ulrich
                                                     LORI J. ULRICH, ESQUIRE
                                                     Assistant Federal Public Defender
                                                     /s/ Brandon R. Reish
                                                     BRANDON R. REISH, ESQUIRE
                                                     Assistant Federal Public Defender
                                                     /s/ Amanda R. Gaynor
                                                     AMANDA R. GAYNOR, ESQUIRE
                                                     Staff Attorney

                                                     100 Chestnut Street, Suite 306
                                                     Harrisburg, PA 17101
                                                     Tel. No. (717) 782-2237
                                                     Fax No. (717) 782-3881
                                                     lori_ulrich@fd.org
                                                     brandon_reish@fd.org
                                                     amanda_gaynor@fd.org

                                                    Attorneys for Riley June Williams




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                                 CERTIFICATE OF SERVICE

       I, Lori J. Ulrich, Esquire, of the Federal Public Defender’s Office, do hereby certify that I

served a copy of the foregoing Defendant’s Submission to the Court Regarding Uncharged

Conduct (Theft of Gavel) and Whether it is Intrinsic to Other Crimes in the Indictment via

Electronic Case Filing, and/or by placing a copy in the United States mail, first class in

Harrisburg, Pennsylvania, and/or by hand delivery, addressed to the following:

       SAMUEL DALKE, ESQUIRE
       Assistant United States Attorney
       samuel.s.dalke@usdoj.gov

       MICHAEL GORDON, ESQUIRE
       Assistant United States Attorney
       Michael.gordon3@usdoj.gov

       RILEY JUNE WILLIAMS



Date: November 9, 2022                                /s/ Lori J. Ulrich
                                                      LORI J. ULRICH, ESQUIRE
                                                      Assistant Federal Public Defender
                                                      Attorney ID #55626
                                                      100 Chestnut Street, Suite 306
                                                      Harrisburg, PA 17101
                                                      Tel. No. (717) 782-2237
                                                      Fax No. (717) 782-3881
                                                      lori_ulrich@fd.org
                                                      Attorney for Riley June Williams




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